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UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY
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KATIA ETIENNE, on behalf of herself and those :
similarly situated,                           :
                                              :
                         Plaintiff,           : Case No.:
                                              :
        vs.                                   :
                                              :
RESURGENT CAPITAL SERVICES L.P.; CACH, :
LLC; and JOHN DOES 1 to 10,                   :
                                              :
                         Defendants.          :
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    DEFENDANTS, RESURGENT CAPITAL SERVICES, L.P.’S AND CACH, LLC’S ,
                        NOTICE OF REMOVAL

        Defendants, Resurgent Capital Services, L.P. (“Resurgent”) and Cach, LLC ( “Cach”)

 (together “Defendants”), file this Notice of Removal of this action to the United States District

 Court for the District of Jersey as follows:

        1.      On July 15, 2021, Plaintiff, Katia Etienne (“Plaintiff”), filed her Summons and

 Complaint with Jury Demand in the Superior Court of New Jersey, Essex County (Docket No.:

 ESX-L-5557-21).

        2.      This is a civil action based on Plaintiff’s contentions that Defendants purportedly

 violated, inter alia, the Fair Debt Collections Practices Act, 15 U.S.C. § 1692, et seq. (“FDCPA”).

        3.      Defendants desire to exercise their right to remove the county court action under

 28 U.S.C. § 1441(a), which provides in pertinent part:


                Except as otherwise expressly provided by Act of Congress, any
                civil action brought in a State court of which the district courts of
                the United States have original jurisdiction, may be removed by the
                defendant or the defendants, to the district court of the United States
                for the district and division embracing the place where such action
                is pending.
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        4.      Given that the Complaint alleges that Defendants violated the FDCPA, this Court,

 pursuant to 28 U.S.C. § 1331, has subject matter jurisdiction over the allegations in the Complaint.

        5.      Thus, the Superior Court action may be removed to this Court by Defendants in

 accordance with the provisions of 28 U.S.C. § 1441(a) because this is a civil action pending within

 the jurisdiction of the New Jersey District Court and because the allegations by Plaintiff allege

 violations of the FDCPA.

        6.      Simply stated, removal is proper because this case involves a federal question

 alleged violation of the FDCPA. Therefore, the entire Complaint is removable pursuant to 28

 U.S.C. §1441(a).

        7.      Removal is timely pursuant to 28 U.S.C. §1446(b) because Defendants have filed

 this Notice of Removal within 30 days of its receipt of Plaintiff’s Complaint.

        8.      Pursuant to 28 U.S.C. §1446(a), copies of all process, pleadings, orders and other

 papers filed in this action and obtained by Defendants are attached hereto and marked as Exhibit

 A and incorporated herein by reference.

        9.      A civil cover sheet will be contemporaneously filed with this pleading.

        10.    Pursuant to 28 U.S.C. § 1446(d), a copy of this Notice of Removal has been sent to

Plaintiff and will be filed with the clerk of the Civil Court of the Superior Court of New Jersey, Law

Division, Essex County. By serving a copy of this Notice of Removal upon Plaintiff’s Counsel,

Defendants are giving Plaintiff proper notice of this removal.

        11.     Venue is proper in this district under 28 U.S.C. §1441(a) because the State Court

 where the suit has been pending is located in this District.

        12.     Plaintiff demanded a trial by jury in State Court, as referred to in Plaintiff’s

 Complaint.

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       13.      Defendants reserve the right to amend or supplement this Notice of Removal and

further reserves the right to raise all defenses or objections.

       For the above reasons, Defendants request that this Court assume full jurisdiction over the

proceeding as provided by law.

Date: August 9, 2021

                                               J. ROBBIN LAW, PLLC

                                               /s/ Jacquelyn A. DiCicco
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                                               Resurgent Capital Services, L.P. and Cach, LLC




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                                 CERTIFICATE OF SERVICE

        I, Jacquelyn A. DiCicco, hereby certify that on August 9, 2021, I caused the Notice of

 Removal to be submitted to the Clerk of the Court for the United States District Court for the

 District of New Jersey, and a copy of the within pleading to be served via United States Mail,

 postage prepaid, upon:

Yongmoon Kim (NJ Atty. ID #026122011)
KIM LAW FIRM LLC
411 Hackensack Avenue, Suite 701
Hackensack, New Jersey 07601
Tel: (201) 273-7117


                                            /s/ Jacquelyn A. DiCicco
                                            Jacquelyn A. DiCicco




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